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                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                              DEL RIO DIVISION

UNITED STATES OF AMERICA                       §
                                               §
vs.                                            §       NO: DR:21-CR-00336(1)-AM
                                               §
(1) SAUL CIFUENTES                             §


                      ORDER REVOKING SUPERVISED RELEASE
                        AND RE-SENTENCING DEFENDANT

       On July 03, 2025, came on to be heard before the Court, the Government's Amended

Petition to Revoke the Defendant's term of supervised release filed on November 12, 2024. The

defendant, (1) SAUL CIFUENTES, appeared with attorney Dalila Padilla Paxton, and the

government appeared by Assistant United States Attorney, Tyler Fleming, in the above-entitled

and numbered criminal action.

       The defendant pled not true to the Violations alleged in the Petition to Revoke

Supervised Release.

       Upon oral Motion by the Government to dismiss, the original petition to Revoke

Supervised Release is hereby GRANTED.

       The Court finds by a preponderance of the evidence, after having conducted an

evidentiary final revocation hearing on July 03, 2025, that the defendant has violated the terms

of supervised release as alleged in the said petition. Thus, the Government’s Amended Petition

to revoke will be and is hereby GRANTED.

       It is hereby ORDERED that the terms of supervised release ordered on March 17, 2022,

as set out in the judgment entered on March 23, 2022, being the same, is hereby revoked and set

aside pursuant to the Sentencing Reform Act of 1984.

       The Court has considered the policy statements contained in Chapter 7 of the Sentencing
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Guidelines Manual and finds the application to be inadequate based on the defendant's history

and characteristics, the need to deter future criminal conduct, and to protect the public.

       It is further ORDERED that the defendant, (1) SAUL CIFUENTES be committed to

the custody of the U.S. Bureau of Prisons for a term of Twelve (12) months, to run

consecutively to any pending state matter, with credit for time served from December 19, 2024,

forward.

       Upon release from imprisonment, the defendant shall be placed on supervised release for

a term of Twenty-Four (24) months. While on supervised release, the defendant shall comply

with all the standard conditions that have been adopted by this court on November 28, 2016. In

addition, it is ordered by the Court that the defendant shall comply with the following special

conditions.

       The defendant shall abstain from the use of alcohol and/or all other intoxicants during

the term of supervision.

       The defendant shall submit to substance abuse testing to determine if the defendant has

used a prohibited substance. The defendant shall not attempt to obstruct or tamper with the

testing methods. The defendant shall pay the costs of testing based on ability to pay.

       The defendant shall participate in a mental health treatment program and follow the rules

and regulations of that program. The probation officer, in consultation with the treatment

provider, shall supervise participation in the program (provider, location, modality,

duration, intensity, etc.). The defendant must pay the cost of such treatment based on the

defendant’s ability to pay.

       If a mental health medical professional prescribes medication during the mental health

treatment program, the defendant shall take the medication as prescribed.

       The defendant shall not communicate, or otherwise interact with Jennifer Gonzalez,

either directly or through someone else, without first obtaining the permission of the Court.
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       The defendant shall not knowingly enter or be in the same home, residence,

neighborhood as Jennifer Gonzalez without first obtaining the Courts permission.

       Payment towards fine and/or special assessment shall be made at the rate of no less than

$40.00 per month, due by the third day of each month beginning no earlier than 60 days after

release from imprisonment.

       The Court recommends that the defendant be incarcerated at F.C.I. Bastrop, if possible.

       SIGNED on this 9th day of July, 2025.




                                               ______________________________
                                               ALIA MOSES
                                               CHIEF U.S. DISTRICT JUDGE



                                          RETURN

I have executed this Revocation Order as follows:




Defendant delivered on                              to
at                                                          , with a certified copy of this Order.


                                               United States Marshal


                                         By:
                                               Deputy Marshal
